        Fill in this information to identify the case:

        Debtor name   Imperial Toy LLC
        United States Bankruptcy Court for the:   Northern                District of   CA
                                                                                        (State)
                                                                                                                                                      Check if this is an
        Case number (If known):                                                                                                                       amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
    Claims and Are Not Insiders                                                        12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest
    unsecured claims.


     Name of creditor and complete                 Name, telephone number, and      Nature of the         Indicate if     Amount of unsecured claim
     mailing address, including zip code           email address of creditor        claim                 claim is        If the claim is fully unsecured, fill in only unsecured
                                                   contact                          (for example, trade   contingent,     claim amount. If claim is partially secured, fill in
                                                                                    debts, bank loans,    unliquidated,   total claim amount and deduction for value of
                                                                                    professional          or disputed     collateral or setoff to calculate unsecured claim.
                                                                                    services, and
                                                                                    government
                                                                                    contracts)
                                                                                                                          Total claim, if Deduction for Unsecured claim
                                                                                                                          partially       value of
                                                                                                                          secured         collateral or
                                                                                                                                          setoff

      Reliable Container                           Maureen Crowley
1     9206 Santa Fe Springs Road                   maureen.crowley@gapac.co             Trade Payable                                                         1,782,627.00
      Santa Fe Springs, CA 90670                   m; (404) 662-0298

      VPet USA                                     Dan Solomon
2     12925B Marlay Ave.                           dan.solomon@vpetusa.com;             Trade Payable                                                         1,136,187.00
      Fontana, CA 92337                            (901) 605-1668

      Ideal Chemical & Supply
                                                   Sam Block
      P.O. Box 18698
3                                                  sblock@idealchem.com;                Trade Payable                                                            862,338.00
      Memphis, TN 38181
                                                   (901) 277 6151
      Disney Consumer Products
                                                   Michelle Fode
      622 Circle Seven Drive, Suite
                                                   michelle.r.fode@disney.com;
4     142D                                                                     Trade Payable                                                                     744,534.00
                                                   (818) 544-1954
      Glendale, CA 91201

      Select Staffing Service                      Roberto Gutierrez
5     P.O. Box 512007                              roberto@employbridge.com;            Trade Payable                                                            462,226.00
      Los Angeles, CA 90051                        (760) 277-3207

      American Express Co.
                                                   americanexpress@welcome.
6     P.O. Box 0001                                                         Trade Payable                                                                        356,000.00
                                                   aexp.com; (800) 492-3932
      Los Angeles, CA 90096

      Mode Transportation                          Jeff Blank
7     P.O. Box 936644                              jeff.blank@modetransportatio Trade Payable                                                                    353,714.00
      Atlanta, GA 31193                            n.com; (215) 499-9859

      VG Packaging
                                                   Brett Verst
      12142 St. Thomas Dr.
8                                                  brettv@vgpkg.com;                    Trade Payable                                                            309,312.00
      Santa Ana, CA 92705
                                                   (714) 206-3613

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    Debtor       Imperial Toy LLC                                                            Case number (if known)
                 Name



     Name of creditor and complete           Name, telephone number, and   Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code     email address of creditor     (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                             contact                       debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                           professional          unliquidated,   total claim amount and deduction for value of
                                                                           services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                 Total claim, if    Deduction for Unsecured
                                                                                                                 partially          value of      claim
                                                                                                                 secured            collateral or
                                                                                                                                    setoff

     Atlas Wood Products]                   Francisco
9    P.O. Box 13949                         atlaswp@sbcglobal.net;         Trade Payable                                                                274,223.00
     San Diego, CA 92170                    (619) 710-8922

     Buzzfeed Inc.                          Amy Asciutto
10 P.O. Box 200022                          amy.asciutto@buzzfeed.com Trade Payable                                                                     250,000.00
     Pittsburg, PA 15251                    ; (908) 328-8556

     Southland Polymers                     Henry His;
11 14030 Gannet St.                         henry@southlandpolymers.c Trade Payable                                                                     242,595.00
     Santa Fe Springs, CA 90670             om; (310) 709-2838

     Plastic Container Co.                  Ron Rhoades
12 P.O. Box 438                             rrhoades@netpcc.com            Trade Payable                                                                229,746.00
     Champaign, IL 61824                    (217) 840-3296

     Bamberger Polymers                     John Sarrao
13 1334 Solutions Center                    jsarrao@bapoly.com             Trade Payable                                                                223,242.00
     Chicago, IL 60677                      (862) 228-5979

     Siempre Viva                           Jeremiah Harrington
14 US Bank Lockbox #511350                  jharrington@jdrealestate.co    Lease                                                                        205,232.00
     Los Angeles, CA 90051                  m; (619) 515-1114

     GP Capital & Sales                     Martin Jacobson
15 1011 High Ridge Road                     mahtyj@att.net                 ;Trade Payable                                                               184,724.00
     Stamford, CT 06905                     (949) 488 3000

     Sohni-Wicke GMBH                       Bernd Nau
16 Postfach 800254 D-45502                  bernd.nau@sohni-wicke.de       Trade Payable                                                                169,190.00
     Hattingen, West Germany                (49) 15112015479
     Insight Marketing
                                            Kathy Re
     19035 Southwest Chesapeake
17                                          kathy.re@comcast.net           Trade Payable                                                                142,226.00
     Drive.
                                            (503) 691 2267
     Tualatin, OR 97062
   Tarimas y Accesorio El Menny
                                            Manuel
   S.A De C.V
18                                          tarimaselmenny@gmail.com Trade Payable                                                                      132,899.00
   Calle Jose Vasconcelos 9801C
                                            (664) 903 8814
   Tijuana, B.C. 22680

     Express Service Transport              Israel Delgado
19 2498 Roll Drive, Suite 422               idelgadov@estruckline.net      Trade Payable                                                                124,980.00
     San Diego, CA 92154                    (619) 571 1963

     Consolidated Contain                   David Arant
20 62867 Collection Center Drive            david.arant@cccllc.com         Trade Payable                                                                123,153.00
     Chicago, IL 60693                      (470) 233 9172

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